         Case 1:15-cv-10603-PBS Document 121 Filed 02/01/18 Page 1 of 3



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

DOMINIC OLIVEIRA,                                     )
                                                      )
                              Plaintiff,              )
                                                      )
v.                                                    )   Case No. 1:15-cv-10603-PBS
                                                      )
NEW PRIME, INC.,                                      )
                                                      )
                              Defendant.              )
                                                      )

JOINT MOTION TO EXTEND PLAINTIFF’S TIME TO REPSOND TO DEFENDANT’S
    MOTION TO DENY CERTIFICATION OF CLASS / COLLECTIVE ACTION

       Plaintiff Dominic Oliveira and Defendant New Prime, Inc., by and through their

attorneys, jointly move the Court to extend Plaintiff’s time to respond to Defendant’s time to

respond to Defendant’s Motion to Deny Certification of Class / Collective Action (Dkt. #118).

This request is made in good faith and not in an effort to delay or deter these proceedings, as set

forth below:

       1.             Defendant filed it’s Motion to Deny Certification of Class / Collective

                      Action on January 23, 2018.

       2.             On January 26, 2018, counsel for Plaintiff, in accordance with their

                      obligations under Rule 7.1, consulted with Defendant to request a short

                      extension of time to prepare a response to Defendant’s Motion. The parties

                      ultimately agreed to request from the Court an extension from the original

                      due date, February 6, 2018, to the new due date, February 20, 2018.

       3.             The parties further agreed to request a corresponding extension of the

                      deadline for Defendant’s reply in support of its motion, to March 13,

                      2018.
         Case 1:15-cv-10603-PBS Document 121 Filed 02/01/18 Page 2 of 3



       WHEREFORE, the parties respectfully request that this Court grant an extension up to

and including February 20, 2018 for Plaintiff to file a response to Defendant’s Motion to Deny

Certification of Class / Collective Action, and further grant an extension up to and including

March 13, 2018 for Defendant to file a reply in support of that motion.




                                                Respectfully Submitted
                                                  DOMINIC OLIVEIRA
                                                  By his attorneys,
                                                  By:     /s/ Andrew Schmidt______
                                                    ANDREW SCHMIDT (admitted pro hac)
                                                    Andrew Schmidt Law, PLLC
                                                    97 India Street
                                                    Portland, ME 04101
                                                    207-619-0320
                                                    andy@maineworkerjustice.com

                                                     Hillary Schwab, BBO #666029
                                                     Brant Casavant, BBO #672614
                                                     FAIR WORK, P.C.
                                                     192 South Street, Suite 450
                                                     Boston, MA 02111
                                                     (617) 607-3260
                                                     www.fairworklaw.com
                                                     Email:hillary@fairworklaw.com,
                                                     brant@fairworklaw.com

                                                  AND
                                                  NEW PRIME, INC.
                                                  By its attorneys,
                                                  By: /s/ Amanda C. Machin
                                                  Jason C. Schwartz*
                                                  (VA #43635; DC #465837; MD
                                                  #201006080003)
                                                  jschwartz@gibsondunn.com
                                                  Joshua S. Lipshutz (BBO #675305)
                                                  jlipshutz@gibsondunn.com
        Case 1:15-cv-10603-PBS Document 121 Filed 02/01/18 Page 3 of 3



                                                 Amanda C. Machin*
                                                 (DC #1008932; VA #82364)
                                                 amachin@gibsondunn.com
                                                 Stephanie E. Pearl (BBO #693941)
                                                 GIBSON, DUNN & CRUTCHER LLP
                                                 1050 Connecticut Avenue, N.W.
                                                 Washington, D.C. 20036 (202) 955-8500

                                                 Theodore J. Boutrous, Jr.*
                                                 (CA #132099; DC #420440; NY #518550)
                                                 tboutrous@gibsondunn.com
                                                 GIBSON, DUNN & CRUTCHER LLP
                                                 333 South Grand Avenue
                                                 Los Angeles, CA 90071
                                                 (213) 229-7000

                                                 *Admitted pro hac vice

Dated: February 1, 2018




                               CERTIFICATE OF SERVICE

        I hereby certify that on February 1, 2018, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
all counsel of record


                                                         /s/ Andrew Schmidt
                                                   Andrew Schmidt, Esq.
